                                                                                 U.S. DISTRICT C01JRT
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                                                                                       DISTRICT OF TEXAS
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                                           Northern District of Texas
                                             Fort Worth Division
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 UNITED STATES OF AMERICA                                    §

 v.                                                          §             Case Number: 4:16-CR-132-A(O?)

 KEVIN KYLE KILLOUGH, a/k/a "Kilo"                           §

                                 JUDGMENT IN A CRIMINAL CASE

       The government was represented by Assistant United States Attorney Shawn Smith. The
defendant, KEVIN KYLE KILLOUGH, a/k/a "Kilo", was represented by Derek D. Brown.

        On September 1, 2016, the defendant was found guilty by a jury of the offense charged
by the one count third superseding indictment, after having entered a plea of not guilty.
Accordingly, the court ORDERS that the defendant be, and is hereby, adjudged guilty of such
count involving the following offense:
 Title & Section I Nature of Offense                                        Date Offense Concluded                    Count
 21 U.S.C. § 846 (21 U.S.C. §§ 841(a)(l) and (b)(l)(B))                     April2016                                 1
 Conspiracy to Possess with Intent to Distribute a Controlled Substance


       On motion of the United States, the court ORDERS as to this defendant that the
superseding indictment filed May 18,2016, be, and is hereby, dismissed.

         As pronounced and imposed on February 9, 2017, the defendant is sentenced as provided
in this judgment.

       The court ORDERS that the defendant immediately pay to the United States, through the
Clerk of this Court, a special assessment of $100.00.

        The court further ORDERS that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence address, or mailing address, as set
forth below, until all fines, restitution, costs, and special assessments imposed by this Judgment
are fully paid. If ordered to pay restitution, the defendant shall notify the court, through the clerk
of this court, and the Attorney General, through the United States Attorney for this district, of
any material change in the defendant's economic circumstances.

                                              IMPRISONMENT

       The court further ORDERS that the defendant be, and is hereby, committed to the
custody of the United States Bureau of Prisons to be imprisoned for a term of Life.

         The defendant is remanded to the custody of the United States Marshal.



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                                     SUPERVISED RELEASE

       The court further ORDERS that, if for some reasons defendant is released from
imprisonment, he shall be on supervised release for a term of eight (8) years and that while on
supervised release, the defendant shall comply with the following conditions:

I.      The defendant shall not commit another federal, state, or local crime.

2.      The defendant shall not unlawfully possess a controlled substance.

3.      The defendant shall cooperate in the collection of DNA as directed by the U.S. Probation
        Officer, as authorized by the Justice for All Act of 2004.

4.      The defendant shall participate in mental health treatment services as directed by the
        probation officer until successfully discharged, which services may include prescribed
        medications by a licensed physician, with the defendant contributing to the costs of
        services rendered at a rate of at least $25 per month.

5.      The defendant shall refrain from any unlawful use of a controlled substance, submitting
        to one drug test within 15 days of release from imprisonment and at least two periodic
        drug tests thereafter, as directed by the probation officer pursuant to the mandatory drug
        testing provision of the 1994 crime bill.

6.      The defendant shall participate in a program approved by the probation officer for
        treatment of narcotic or drug or alcohol dependency that will include testing for the
        detection of substance use, abstaining from the use of alcohol and all other intoxicants
        during and after completion of treatment, contributing to the costs of services rendered at
        the rate of at least $25 per month.

7.      The defendant shall also comply with the Standard Conditions of Supervision as
        hereinafter set forth.

                                Standard Conditions of Supervision

I.      The defendant shall report in person to the probation office in the district to which the
        defendant is released within seventy-two (72) hours of release from the custody of the
        Bureau of Prisons.

2.      The defendant shall not possess a firearm, destructive device, or other dangerous weapon.

3.      The defendant shall provide to the U.S. Probation Officer any requested financial
        information.

4.      The defendant shall not leave the judicial district where the defendant is being supervised
        without the permission of the Court or U.S. Probation Officer.

5.      The defendant shall report to the U.S. Probation Officer as directed by the court or U.S.
        Probation Officer and shall submit a truthful and complete written report within the first
        five (5) days of each month.
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6.       The defendant shall answer truthfully all inquiries by the U.S. Probation Officer and
         follow the instructions of the U.S. Probation Officer.

7.       The defendant shall support his or her dependents and meet other family responsibilities.

8.       The defendant shall work regularly at a lawful occupation unless excused by the U.S.
         Probation Officer for schooling, training, or other acceptable reasons.

9.       The defendant shall notify the probation officer at least ten (I 0) days prior to any change
         in residence or employment.

10.      The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
         use, distribute, or administer any narcotic or other controlled substance, or any
         paraphernalia related to such substances, except as prescribed by a physician.

ll.      The defendant shall not frequent places where controlled substances are illegally sold,
         used, distributed, or administered.

12.      The defendant shall not associate with any persons engaged in criminal activity, and shall
         not associate with any person convicted of a felony unless granted permission to do so by
         the U.S. Probation Officer.

13.      The defendant shall permit a probation officer to visit him or her at any time at home or
         elsewhere and shall permit confiscation of any contraband observed in plain view by the
         U.S. Probation Officer.

14.      The defendant shall notify the probation officer within seventy-two (72) hours of being
         arrested or questioned by a law enforcement officer.

15.      The defendant shall not enter into any agreement to act as an informer or a special agent
         of a law enforcement agency without the permission of the court.

16.      As directed by the probation officer, the defendant shall notify third parties of risks that
         may be occasioned by the defendant's criminal record or personal history or
         characteristics, and shall permit the probation officer to make such notifications and to
         confirm the defendant's compliance with such notification requirement.

       The court hereby directs the probation officer to provide defendant with a written
statement that sets forth all the conditions to which the term of supervised release is subject, as
contemplated and required by 18 U.S.C. § 3583(1).




        The court did not order a fine because the defendant does not have the financial resource
or future earning capacity to pay a fine.


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                                 STATEMENT OF REASONS

        The "Statement of Reasons" and personal information about the defendant are set forth
on the attachment to this judgment.

       Signed this the 9th day of February, 2017.




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                                           RETURN

I have executed the imprisomnent part of this Judgment as follows:




Defendant delivered on _ _ _ _ _ _ _, 2017 to---:-:---:-:::-::----::-:-:-::---:---
a t - - - - - - - - - - - - - - - - - - - ' with a certified copy of this Judgment.



                                            United States Marshal for the
                                            Northern District of Texas

                                            By~------~-------------------
                                              Deputy United States Marshal




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